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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  ALBANY DIVISION


 KYDAISHA BURTON,

        Plaintiff,

 vs.                                                      Civil Action No. 1:20-CV-29

 PHOEBE PUTNEY HEALTH SYSTEM,
 INC., d/b/a Phoebe Sumter Medical Center
 d/b/a Phoebe Putney Memorial Hospital, and
 d/b/a Phoebe Neonatology; PHOEBE
 SUMTER MEDICAL, INC.; PHOEBE
 PUTNEY MEMORIAL HOSPITAL, INC.,
 d/b/a Phoebe Memorial Hospital, and d/b/a
 Phoebe Neonatology; CARECONNECT
 HEALTH, INC., d/b/a Americus OBGYN;
 AJAY S. GEHLOT; KENNETH HEALEY,
 M.D.; ASHLEY WILSON, C.N.M.;
 CRYSTAL SETTLE, C.N.M.; JACK D.
 OWENS, M.D.; SIRLENA E. BROWN, N.P.;
 FLEMING BURROUGHS, M.D.; and
 Defendants “A” through “Z” whose identities
 are not yet known to Plaintiff but will be
 discovered in this action,

        Defendants.


                                  NOTICE OF REMOVAL

TO:    The United States District Court for the Middle District of Georgia, Albany Division

       PLEASE TAKE NOTICE THAT pursuant to 42 U.S.C. §§ 233(a) and 233(c) and on

behalf of Defendants CareConnect Health, Inc., Kenneth Healey, M.D., Ashley Wilson, C.N.M,

Crystal Settle, C.N.M., and Ajay S. Geholt, M.D. (hereinafter “PHS Defendants”); Charles E.

Peeler, United States Attorney for the Middle District of Georgia by and through his designee,

Assistant United States Attorney for the Middle District of Georgia Kevin D. Abernethy,

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respectfully submits this Notice of Removal to remove this case from the Superior Court of

Dougherty County, Georgia to the United States District Court for the Middle District of

Georgia, Albany Division and in support and explanation thereof shows:

       1.      By removing this case on behalf of the PHS Defendants, the United States does

not admit that they or it are subject to the jurisdiction of the Court or that they have been

properly served. The effect of removal is to simply establish that the suit against the PHS

Defendants should have been filed in the United States District Court for the Middle District of

Georgia and named only the United States as a Defendant in their stead.

       2.      The Superior Court of Dougherty County, Georgia, case in which the PHS

Defendants are named is pending as Case Number SUCV2019001379, within the judicial district

and division of this Court. No trial has yet been had in this action. Copies of the entire record in

that action are attached to this Notice of Removal as Exhibit A, consisting of 624 pages as of

February 7, 2020.

       3.      Discussed more fully hereinafter, Defendants CareConnect Health, Inc., Kenneth

Healey, M.D., Ashley Wilson, C.N.M, Crystal Settle, C.N.M., and Ajay S. Geholt, M.D., all

deemed employees of the Public Health Service (PHS), have had the Complaint in this case

attempt to state a claim against them by the Plaintiff for actions they took while acting in that

capacity in the course and scope of their employment.

       4.      The Plaintiff in the above-referenced Superior Court action seeks damages from

the PHS Defendants, and others, for alleged negligent acts or omissions in the course and scope

of their employment in providing care to Plaintiff Kydaisha Burton.




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       5.      Congress has provided in 42 U.S.C. § 233(a) that the exclusive remedy for such a

claim against a PHS Defendant is against the United States under 28 U.S.C. §§ 1346(b) and 2671

et seq., the Federal Tort Claims Act (FTCA) and 42 U.S.C. § 233(a).

       6.      Under the FTCA, only United States District Courts have jurisdiction over such

claims as are made in the above-referenced Superior Court of Dougherty County, Georgia case

against a PHS Defendant.

       7.      Congress has provided in 42 U.S.C. § 233(c) that such an action commenced in a

State court shall be removed to the proper United States District Court upon certification by the

Attorney General that a PHS Defendant was acting in the scope of his employment at the time of

the incident out of which the suit arose. Under the allegations of the Plaintiff in the Superior

Court of Dougherty County, Georgia, case, the proper United States District Court is the District

Court for the Middle District of Georgia, Albany Division.

       8.      Also removed are the claims against the Defendants other than the PHS

Defendants, over and against whom or which the United States District Court for the Middle

District of Georgia shall have and exercise supplemental jurisdiction under 28 U.S.C. § 1367(a),

unless and until the said Court shall direct to the contrary.

       9.      A copy of this Notice of Removal is being served upon all parties and the copy

hereto will be filed with the Clerk of the Superior Court of Dougherty County, Georgia, pursuant

to 28 U.S.C. § 1446(d), whereupon all further proceedings shall be in this Court.




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       WHEREFORE, the PHS Defendants pray that the action pending in the Superior Court of

Dougherty County, Georgia, Case Number SUCV2019001379, be removed to this Court for

such further proceedings as may be appropriate, under and pursuant to 42 U.S.C. § 233(c).

       Respectfully submitted this 14th day of February, 2020.



                                            CHARLES E. PEELER
                                            UNITED STATES ATTORNEY
                                            MIDDLE DISTRICT OF GEORGIA
                                            ATTORNEY FOR THE UNITED STATES
                                            AND THE PHS DEFENDANTS


                                    By:     /s/ Kevin D. Abernethy
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                                CERTIFICATE OF SERVICE

       I, Kevin D. Abernethy, Assistant United States Attorney, hereby certify that on the 20th

of February, 2020, I electronically filed the foregoing Notice of Removal with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the following:

N/A.

       I also certify that I have mailed by the United States Postal Service the documents

(omitting Exhibit A because they have those documents) and a copy of the Notice of Electronic

Filing to the following non-CM/ECF participants:

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       This 20th day of February, 2020.


                                                    /s/ Kevin D. Abernethy
                                                    KEVIN D. ABERNETHY
                                                    Assistant United States Attorney
